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 ~AO    24513    (Rev. 9/00) Judgment        in a Criminal      Case
                 Sheet I


                                UNITED STATES DISTRICT COURT
                                              SOUTHERN               DISTRICT      OF CALIFORNIA

                 UNITED    STATES        OF AMERICA                             JUDGMENT                  IN A CRIMINAL   CASE
                                    v.                                          (For Offenses Committed On or After November I, 1987)

                      Ricky M.K. Allison      (07)                              Case Number:             06CR0205-W

                                                                                Michael       Stephen      Berg
                                                                                Defendant's   Attorney
REG ISTRATION        NO.98733198
THE DEFENDANT:
X      pleaded guilty to count(s)        one of the indictment

       Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenses:
                                                                                                                                Count
Title & Section                      Nature of Offense                                                                        Number(s)
21 USC846&841(a)(I)        &         Conspiracy      to distribute    Marij uana                                                     I
18 USC 2




   The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant                to the
Sentencing Reform Act of 1984.




X Assessment:             $ 100.00 payable forthwith.
X   Fine ordered waived.

         IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change
in the defendant's economic circumstances.
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            Sheet 2 - Imprisonment

                                                                                                     Judgment -   Page   _2   _   of   ~
DEFENDANT:                     Ricky M.K. Allison
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                                                             IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
21 months.




o       The court makes the following recommendations to the Bureau of Prisons:




o      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district:

                   __________                       0 a.m.      o p.m.         on

        o      as notified by the United States Marshal.

o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       o      before 2 p.m. on

       o      as notified by the United States Marshal.

       o      as notified by the Probation or Pretrial Services Office.



                                                                   RETURN

I have executed this judgment as follows:
       Defendant delivered on                                                            to

at   ________________                                , with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL

                                                                          By
                                                                                           DEPUTY UNITED STATES MARSHAL
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            Sheet 3 -   Supervised    Release

                                                                                                                                  Judgment-Page             ----3....- of -----4
  DEFENDANT:                     Ricky M.K. Allison
  CASE NUMBER:                   06CR020S- W
                                                                        SUPERVISED RELEASE

  Upon release from imprisonment,                 the defendant         shall be on supervised       release     for a term of 3 years.
                                                                 MANDATORY CONDITIONS

        The defendant shall report to the probation                    office in the district to which the defendant           is released     within 72 hours of release from
  the custody of the Bureau of Prisons.

  The defendant     shall not commit            another     federal,    state or local crime.

  The defendant     shall not illegally         possess     a controlled      substance.
  For offellses cOllllllitted 011or after Septelllber              /3. /994:
       The defendant shall refrain from any unlawful use of a controlled substance.    The defendant                                 shall submit to one drug test within
  IS days of release from imprisonment   and at least two periodic drug tests thereafter.

  o The above drug testing condition is suspended, based on the court's determination                                      that the defendant        poses a low risk of
       future substance      abuse.

       The defendant       shall not possess         a firearm,        destructive   device,    or any other dangerous         weapon.

              Drug testing requirements    will not exceed submission of more than eight drug tests per month during the term of supervision,
              unless ordered by the Court.
              The
              If thisdefendant
                      judgment shall cooperate
                                imposes  a fine as
                                                or directed     in the
                                                    a restitution      collection it of
                                                                    obligation,         a DNA
                                                                                     shall       sample, pursuant
                                                                                           be a condItion           to 18 release
                                                                                                          of supervised   USC 3583(d)
                                                                                                                                  that the defendant pay
       any such of
       Schedule finePayments
                      or restitution   that in
                                 set forth   remains   unpaid at the commencement
                                               this judgment.                                             of the term of supervised           release      in accordance       with the


       The defendant shall comply with the standard                        conditions      that have been adopted       by this court.       The defendant        shall also comply
  with any special conditions imposed.


                                           STANDARD CONDITIONS OF SUPERVISION

  I)   the defendant     shall not leave the judicial             district    without   the permission         of the court or probation       officer;
 2)    the defendant shall report to the probation                 officer and shall submit a truthful            and complete     written report within the first five days
       of each month;

 3)    the defendant     shall answer       truthfully       all inquiries     by the probation      officer     and follow the instructions        of the probation          officer;
 4)    the defendant     shall support      his or her dependents              and meet other family responsibilities;
 5)    the defendant shall work regularly                 at a lawful occupation,        unless excused        by the probation   officer for schooling,          training,    or other
       acceptable reasons;
 6)    the defendant     shall notify the probation             officer at least ten days prior to any change               in residence      or employment;
 7)    the defendant shall refrain from excessive                  use of alcohol and shall not purchase, possess, use, distribute, or administer                             any
       controlled substance or any paraphernalia                   related to any controlled substances, except as prescribed by a physician;
 8)    the defendant     shall not frequent         places where controlled             substances    are illegally     sold, used, distributed,          or administered;
 9)
       th~a d~fendant
       of              shall granted
             felony, unless   not associate with any
                                      permission  to lersons
                                                       0 so by engaged   in crim!!1al
                                                               the probatIon   ottIcer; activity                      and shall not associate       with any person convicted

10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere                                      and shall permit confiscation
       of any contraband observed III plain view of the probation officer;
II)    the defendant     shall notify the probation             officer      within seventy-two      hours of being arrested        or questioned           by a law enforcement
       officer;

12)    the defendant shall not enter into any agreement                      to act as an informer     or a special     agent of a law enforcement             agency without        the
       permission of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
       criminal record or personal history or characteristics    and shall permit the probation officer to make such notifications and to
       confirm the defendant's   compliance  with such notification requirement.
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DEFENDANT:                   Ricky M.K. Allison
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                                                  SPECIAL CONDITIONS OF SUPERVISION

    x       The defendant shall not possess firearms, explosive devices, or other dangerous weapons.
            The defendant shall submit to search of person, property, residence, abode or vehicle, at a reasonable time and in
            a reasonable manner, by the probation officer or other law enforcement officer.
    x       The defendant shall report all vehicles owned, operated, or in which the defendant has an interest to the probation officer.
            The defendant shall participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling,
            as directed by the probation officer. The defendant may be required to contribute to the costs of services rendered in an
            amount to be determined by the probation officer, based on the defendant's ability to pay. Drug testing requirements will not
            exceed submission of more than eight drug tests per month during the term of superVIsion, unless by order of the Court.
    x       The defendant shall not operate a motor vehicle without a valid license.
l           The defendant shall resolve all outstanding warrants within 60 days.
